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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         NORTHERN DIVISION

MOLLIE HOSEA, et al.,                         :

        Plaintiffs,                           :

vs.                                           : CA 04-0605-WS-C

JESSE LANGLEY, et al.,                        :

        Defendants.                           :

                                      ORDER

        This cause is before the Court on plaintiffs’ motion to compel (Doc. 61)

and defendants’ motions to quash (Doc. 64) and for a protective order (Doc.

89).   These motions, referred for pretrial disposition pursuant to 28 U.S.C. §

636(b)(1)(A), came on for an evidentiary hearing on November 16, 2005. After

consideration of the Court record and the arguments presented by counsel, it is

determined that the motion to compel should be denied, and that the motion to

quash and motion for protective order should be granted.

                        BACKGROUND INFORMATION

        This Civil Rights action was filed on September 20, 2004 (Doc. 1). The

three plaintiffs brought suit against the Sheriff of Marengo County, Alabama,

three of his deputies and six other citizens of Marengo County.      Jurisdiction is

based on federal question with plaintiffs alleging that their claims arise under

the First, Fourth, Fifth, Sixth, Eighth, Ninth and Fourteenth Amendments to the

United States Constitution.    The complaint contains six counts, four being Civil
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       Rights claims brought pursuant to 42 U.S.C. § § 1982, 1983 and 1985. The final

       two counts contain state claims for conversion and theft.1

               Even though this action was filed in September, 2004, formal discovery

       did not begin until the entry of a Scheduling Order on April 5, 2005 (Doc. 49).

       The months prior to the entry of the Scheduling Order were used to better define

       the issues that would be subject to discovery given the nature of the claims and

       the number and potential capacities of the parties. On February 10, 2005, Judge

       Steele granted in part and denied in part the motions to dismiss, giving the

       parties a clear roadmap as to the issues on which discovery would be

       appropriate.

               It is also noted that this time was used to allow plaintiffs’ counsel,

       Charles Clyde Tatum, Jr. and Roderick Graham, to gain admission to practice in

       this Court. See Show Cause Order, Doc. 7; Response to Show Cause Order,

       Doc. 15 2 ; Response to Order to Show Cause, Doc. 17; and a Clerk’s notation of

       November 17, 2004.

               After reviewing the parties’ Rule 26(f) reports filed on April 4, 2005

       1
                Defendants tested the issues raised in the Complaint by motions to dismiss. For a
thorough review of the issues that remained for purposes of discovery after these motions were
resolved, see Judge Steele’s Order on Motions to Dismiss and for Summary Judgment entered on
February 10, 2005 (Doc. 39).
       2
                  The response by Mr. Graham was filed with an incorrect caption. The caption he used
identifies the case of Susan Clark v. Washington Mutual Bank, Inc. and Fictitious parties A and B,
Case No. 04-CV-605-S in the United States District Court for Northern District of Alabama, Southern
Division.

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(Docs. 47 & 48), a specific scheduling order was entered without a conference

since the parties had specifically requested that no conference be held. (Id.;

Doc. 49). Therein, the discovery period was established between April 5, 2005

and October 5, 2005, a period of six months.

        All discovery is to be completed on or before October 5, 2005.
        Requests for extension will be viewed with great disfavor
        and will not be considered except upon a showing (1) that
        extraordinary circumstances require it and (2) that the
        parties have diligently pursued discovery.

                For all actions, “completed” means that all depositions
        have been taken; interrogatories, requests for admissions, and
        requests for production filed and responded to; physical
        inspections and testing concluded; physical and mental
        examinations concluded; and motions to compel filed.

RULE 16(b) SCHEDULING ORDER, Doc. 49, p. 1, ¶ 2.(Emphasis supplied)

The parties were also reminded that now that the schedule had been set, any

modification of that schedule, including the discovery period, would be

authorized only upon a showing of good cause. (Id., ¶ 14)

        After   formal    discovery    commenced,      the   record   reflects   that

interrogatories and requests for production of documents were propounded by

defendants William and Nedra Goodwin and Larry Fuller and served on May 12

and 23, 2005 respectively.       After this entry, it is difficult to follow the

discovery that was taken since the parties failed to keep the Court informed of

its progress.   Although Local Rule 5.5(d) requires that this Court be notified

when discovery material is served, the Court can find no record of compliance

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with this Local Rule by several parties, including plaintiffs.   The only indication

that plaintiffs have engaged in any discovery at all during the authorized period

is the circumstantial evidence gained from the notice filed by Mr. Gray that his

clients had responded to plaintiff’s discovery requests, a notice that was filed

on September 20, 2005 (Doc. 59).

       The one request for an extension of the discovery period was filed by Mr.

Graham on behalf of the plaintiffs on July 28, 2005 (Doc. 57) which was denied

by Order dated July 29, 2005 (Doc. 58). After listening to Mr. Graham explain

the basis for filing this request for an extension of sixty days, that was curiously

filed more than sixty days before the close of discovery, it is now clear to the

Court that he had made a mistake in his calculation as to when discovery ended,

thinking that the period ended on the last day of July, 2005. Since plaintiffs

actually had until October 5, 2005 in which to complete discovery, the motion

to extend the period sixty days beyond July 31, 2005 was a waste of time.

       No other discovery event, from plaintiffs’ perspective, appears of record

until the last day of the discovery period, when plaintiffs moved to compel the

depositions of nine defendants that had been noticed for October 25, 2005. Mr.

Graham now notifies the Court that the notices, which were served on or about

October 3, 2005, should have set the depositions for October 5, 2005, i.e., two

days later. These notices to take depositions beyond the date established for the

close of the discovery period, without an extension of that period having been

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granted, prompted the motion to quash the notices and for a protective order on

behalf of several of the defendants.      In       response to those motions, the Court

temporarily stayed the taking of the depositions until a hearing could be held.

Now that the hearing has been held, the Court understands that plaintiffs’

counsel has modified his position to seek leave to take only two depositions,

that of Deputy Sheriff Tommy Reese and Michael Ledkins.

                                     DISCUSSION

        It is presumed that plaintiffs have filed their motion to compel pursuant

to Rule 37, Federal Rules of Civil Procedure, even though no authority for the

requested relief has been cited. (See Motion To Compel Defendant[s’]

Deposition[s], Doc. 61)        The portion of Rule 37 that appears applicable is

subsection (d):

        If a party ... fails (1) to appear before the officer who is to take
        the deposition, after being served with a proper notice, ... the
        court in which the action is pending on motion may make such
        orders in regard to the failure as are just, ... .

Rule 37(d).       Plaintiffs feel that their attempts at obtaining dates for the taking

of defendants’ depositions have been frustrated by counsel for the defendants

and that a just order under the circumstances would be to allow the depositions

of Reese and Ledkins to be taken outside the discovery period.

        Defendants William and Nedra Goodwin moved to quash the notices of

their deposition on the grounds that they were noticed to be taken outside the



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        discovery period without an extension granted and that plaintiffs had failed to

        take advantage of the opportunities to take the depositions prior to October 5,

        2005.     (Motion To Quash Notices of Depositions by Plaintiffs, Doc. 64)

        Thereafter, on October 21, 2005, defendants Jesse Langley, Tommie Reese,

        Bryan Jones and Lee Lawrence filed a motion for a protective order pursuant to

        Rule 26(c) that effectively joined the request to quash the same notices of

        depositions.     (Motion for Protective Order, Doc. 89) As aforesaid, these

        depositions have been temporarily stayed pending a hearing to allow plaintiffs

        an opportunity to show due diligence in trying to complete discovery and the

        extraordinary circumstances that prevented them from taking the depositions at

        issue during the discovery period. (Order, Doc. 69) That hearing was held by

        telephone conference on November 16, 2005 and the electronic record of that

        hearing is available for review.

                Whether designated as such, the Court construes each defendant’s

        motion as one for a protective order under Rule 26(c)(1), Federal Rules of Civil

        Procedure, since they have asked that the scheduled depositions not be taken. 3


        3
                The plaintiffs have not provided the Court with a copy of each notice of deposition that
supports their motion to compel. The response to the motion filed by defendants Langley, Reese, Jones
and Lawrence does have a copy of the notices attached as Exhibit M (Doc. 65-14). The depositions
were for nine defendants: William Goodwin, Michael Ledkins, Jimmy McDonald, Larry Fuller, Leroy
Rodgers, Lee Lawrence, Bryan Jones, Tommie Reese and Jessie Langley. They were all scheduled for
9:00 a.m. on October 25, 2005 in the offices of Lloyd & Dinning, LLC, Demopolis, Alabama. (Id.)
Even though the only defendants to file for a protective order are Goodwin, Langley, Reese, Jones and
Lawrence, plaintiffs’ counsel admitted that he only needed the depositions of Reese and Ledkins.

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        Their burden is to show good cause for the requested relief. This burden has

        clearly been met by the showing that the notices as served violated the Court’s

        Scheduling Order, and, furthermore, the intended deposition date of October 5,

        2005, would have been unreasonable even if the notices had contained the

        correct date.    Plaintiffs’ counsel are responsible for the failure to take the

        depositions during the discovery period as well as setting the depositions

        incorrectly in the deposition notices served on October 3, 2005.

                Plaintiffs’ motion to compel clearly should be denied.               The nine

        depositions noticed were scheduled in violation of the Court’s Scheduling Order

        without an extension of time having been granted.            Even if the notices had

        provided the correct date, October 5, 2005, to bring the depositions within the

        discovery period, such a notice would not be reasonable as required in Rule

        30(b)(1) (“A party desiring to take the deposition of any person upon oral

        examination shall give reasonable notice in writing to every other party to the

        action.”).   This was clearly recognized by Mr. Graham during the hearing,

        prompting him to orally move for an extension of time to take just two of the

        nine depositions at issue.    Defendants Reese and Ledkins objected to this oral

        request on the basis that plaintiffs had not been prevented from taking these

        depositions during the six month discovery period and no extraordinary



Ledkins, through counsel, joined the motion for a protective order during the hearing held on
November 16, 2005.

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circumstances existed that would require allowing the depositions to be taken

after October 5, 2005.

        Thus, the focal question presented in this case, and numerous others that

come before the undersigned, is should this Court exercise its authority to

control the pace of litigation?         Magistrate Judge Sonja Bivins has recently

articulated the importance of courts keeping to their schedules and her words

are relevant to the question pending in this action:

                 Courts have both the authority and responsibility for
        ensuring that cases proceed in a timely manner. Chrysler Int’l
        Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir. 2002) (“Given
        the caseload of most district courts and the fact that cases can
        sometimes stretch out over years, district courts must have
        discretion and authority to ensure that their cases move to a
        reasonably timely orderly conclusion.”); Perez v. Miami-Dade
        County, 297 F.3d 1255, 1263 (11th Cir. 2002) (“Indeed, we have
        repeatedly emphasized the responsibility of trial courts to
        manage pretrial discovery properly in order to avoid ‘a massive
        waste of judicial and private resources’ and a loss of society’s
        confidence in the courts’ ability to administer justice.”’), quoting
        Johnson Enters. of Jacksonville, Inc. v. FPL Group, Inc., 162
        F.3d 1290, 1333 (11th Cir. 1998). See also Advisory Committee
        Notes, Fed.R.Civ.P. 16 (“Rule 16(b) assures that the judge will
        take some early control over the litigation ...”).

                The importance of observing deadlines contained in
        scheduling orders is recognized in Rule 16(b), where it is
        provided that “[a] schedule shall not be modified except upon a
        showing of good cause and by leave of the district court ...”
        Moreover, the Eleventh Circuit, in affirming the denial of an
        untimely motion to amend a complaint noted that “this good
        cause standard precludes modification [of the scheduling order]
        unless the schedule cannot “be met despite the diligence of the
        party seeking the extension”. Sosa v. Airpring Systems, Inc., 133
        F.3d 1417, 1418 (11th Cir. 1998).

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Argo Systems FZE v. Liberty Insurance PTE, LTD., 2005 WL 1355060 (S.D.

Ala. 2005).

       The evidence of plaintiffs’ attempt to complete discovery within the six

months authorized is very scant.       After receipt of this Scheduling Order,

plaintiffs have served one set of written interrogatories and it appears from the

statements of counsel that they were served in late July or early August, 2005,

approximately four months after the start of formal discovery. Other than those

interrogatories, plaintiffs noticed the nine depositions at issue either for an

unreasonable date, October 5, 2005, giving the deponents and counsel only two

days to prepare and appear in Demopolis, or outside the discovery period,

October 25, 2005. No other discovery has been taken by the plaintiffs, although

the defendants have successfully taken the plaintiffs’ depositions.   Counsel for

defendants also make the arguments that they were prepared to present their

clients for depositions simultaneously with the plaintiffs if only a request had

been made.

       Plaintiffs’ attempt to point to a refusal by opposing counsel to agree to

deposition dates as the cause for not completing discovery on time rings hollow

for three sound reasons.   First, plaintiffs were always in control of the timing

and sequencing of their discovery requests.   The Court’s Scheduling Order did

not require that depositions be taken in a particular order or that they be taken

at a designated time during the six month period established for completion of

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the discovery process. See Rule 26(d) (“Unless the Court upon motion, for the

convenience of the parties and witnesses and in the interest of justice, orders

otherwise, methods of discovery may be used in any sequence, and the fact that

a party is conducting discovery, whether by deposition or otherwise, does not

operate to delay any other party’s discovery.”).

          The second reason is simply that plaintiffs could have noticed the

depositions of these defendants immediately upon realization that opposing

counsel were not cooperating.             Although this Court strongly encourages

cooperation among counsel in the scheduling of depositions, counsel must

adhere to the time limits imposed by the Court.                This clearly means that

depositions must be noticed in time to be completed within the discovery

period.    This principle of case management is highlighted by the fact that the

defendants successfully took the depositions of the three plaintiffs.

          And finally, plaintiffs could have asked for the Court to assist in setting

a deposition schedule that would ensure compliance with the scheduling order.

These two steps, sending deposition notices and seeking the Court’s assistance,

were actually taken by Mr. Graham on behalf of his clients when the notices

were served on October 3, 2005 and when he filed his motion to compel on

October 5, 2005, but by that time, he was too late.

                                    CONCLUSION

          Under these circumstances, plaintiffs cannot now obtain an expansion of

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the discovery period or a modification of the Scheduling Order without having

shown good cause. Plaintiffs have not established a good reason for not taking

the depositions of Reese and Ledkins prior to October 5, 2005, nor have they

shown that extraordinary circumstances interferred or obstructed their diligent

attempts to take these allegedly critical depositions of two defendants.   Instead,

it is clear that the plaintiffs were not diligent in attempting to complete

discovery on the schedule requested and then authorized by the Court.

Therefore, plaintiffs’ motion to compel the deposition of defendants (Doc. 61)

is DENIED and the motion to quash plaintiffs’ notices of deposition and for a

protective order are GRANTED.        Plaintiffs’ oral motion for leave to take two

depositions outside the established discovery period is also DENIED.

       DONE AND ORDERED this 23rd day of November, 2005.

                               s/WILLIAM E. CASSADY
                               UNITED STATES MAGISTRATE JUDGE




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